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                                                                                 JS-6
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

Case No. SACV 21-01561-CJC (KESx)                                Date: October 27, 2021

Title: SKYCREST HOLDING TRUST, HADEEL SAMARRI AS TRUSTEE V. RAZAGHI ET
       AL.



PRESENT:

  HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

      Rolls Royce Paschal                                  N/A
      Deputy Clerk                                     Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:

      None Present                                     None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING CASE FOR FAILURE
TO RESPOND TO COURT ORDERS AND FAILURE TO PROSECUTE

        On September 23, 2021, Defendants removed this action to federal court from
Orange County Superior Court. (Dkt. 1.) On October 5, 2021, the Court issued to
Plaintiff an Order to Show Cause in writing by October 15, 2021, explaining why this
case should not be dismissed for lack of prosecution. (Dkt. 5.) The Court stated that
“[f]ailure to respond to this Order may result in dismissal.” (Id.) The Court received no
response to its Order to Show Cause. Accordingly, this case is DISMISSED for failure
to respond to the Court’s order and failure to prosecute.

MINUTES FORM 11
CIVIL-GEN                                                          Initials of Deputy Clerk RRP
